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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


TZIVA RAPOPORT-HECHT, individually on
behalf of herself and all others similarly situated,
et al.,                                                     Case No. 14-CV-9087 (KMK)

                               Plaintiffs,                              ORDER

        -v-

 SEVENTH GENERATION, INC.,

                                Defendant.


KENNETH M. KARAS, District Judge:

       At the Conference held before the Court on January 26, 2017, the Court approved the

proposed class action settlement in all substantive respects, but requested additional briefing

regarding whether the proposed settlement class satisfies the requirements of Federal Rule of

Civil Procedure 23, specifically, Rule 23(b)(3)'s predominance requirement. On February 17,

2017, Plaintiffs filed a supplemental memorandum of law detailing the class's suitability under

Rule 23(b)(3). For the reasons to follow, the Court finds that the predominance requirement has

been satisifed.

       The claims in this case arise from Plaintiffs' allegation that Defendant misleadingly

labeled its products as "natural," "non-toxic," and/or "hypoallergenic" when, in fact, the products

have none ofthose qualities. (See Second Am. Compl. ~ 1 (Dkt. No. 41).) On July 1, 2016, the

Parties moved for preliminary approval of a settlement, (see Dkt. No. 42), and the Court granted

that Motion on October 12, 2016, and set a date for the fairness hearing, (see Dkt. No. 52). At

the fairness hearing held on January 26, 2017, the Court found that the settlement was

procedurally and substantively fair, that the attorney's fees, expenses, and incentive awards
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sought were justified, and that the objections levied by class members had no merit. (See Hr'g

Tr. 71 (Jan. 26, 2017 Hr'g).) The Court, however, had questions regarding whether the class

could be certified for settlement purposes. Although the Court found that the proposed class met

the requirements of Rule 23(a) (as well as the implied ascertainability requirement), the Court

questioned whether the proposed settlement class could meet the predominance requirement of

Rule 23(b)(3). (See id at 41.) To that end, the Court requested additional briefing from

Plaintiffs addressing whether the predominance requirement had been satisfied for purposes of

settlement. (See id. at 55-56.) Plaintiffs have submitted that briefing, and the Court now

addresses the arguments and issues raised therein.

                                            I. Discussion

         The issue confronted by the Court here under Rule 23(b)(3)'s predominance requirement

is whether actual or potential variations in the state law claims that form the basis of the

proposed class would require disparate proof among individual class members such that the

requirement that "the legal or factual questions that qualify each class member's case as a

genuine controversy are sufficiently similar as to yield a cohesive class" cannot be met. In re

Am. Int 'l Grp., Inc. Sec. Litig., 689 F.3d 229, 240 (2d Cir. 2012) ("AIG") (internal quotation

marks omitted). In particular, the Court questioned at the hearing whether a nationwide class

could be certified for settlement purposes with respect to a claim under New York GBL § 349,

(see   Hr'g Tr. 41-42), and, if not, whether there were any other claims that could serve as the

basis for class certification. Plaintiffs' counsel raised the possibility that the unjust enrichment

claims could be asserted on behalf of a nationwide class, (see id at 4 7), but the Court expressed

hesitation given the lack of briefing about the viability of a nationwide unjust enrichment class,




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(see id. at 52). With the benefit of more detailed briefing, however, the Court is now able to

assess the viability of the proposed settlement class.

       Plaintiffs first argue that any variation in state law is irrelevant to the predominance

requirement because such variations implicate the manageability of the class, which is an issue

that need not be confronted when certifying a settlement class. (See Suppl. Mem. of Law in

Supp. ofPls.' Unopposed Mot. for Final Approval ofthe Class Action Settlement ("Suppl.

Mem") 2 (Dkt. No. 73).) As Plaintiffs point out, (see id.), the mere existence of individualized

questions, such as whether class members will have to prove reliance, can sometimes be

classified as a manageability issue that need not be considered when certifying a class for

settlement purposes, see A/G, 689 F .3d at 241 ("[W]ith a settlement class, the manageability

concerns posed by numerous individual questions of reliance disappear."). But it does not follow

that the Court is absolved of resolving the predominance issues that exist here merely because

the class is sought to be certified for settlement purposes only. The issue in AIG, where the

Second Circuit vacated and remanded the district court's decision to deny class certification to a

settlement class, was not that different states' laws would apply to the claims asserted, but rather

that, if the case proceeded to trial, the court would be burdened with hearing evidence with

respect to each individual class member's reliance on the allegedly false statements. See id. at

241 (noting the issues that arise when class members must "prov[ e] at trial that each individual

plaintiffwas aware of and specifically relied upon the defendant's false statement"). The

circumstances in AIG were thus different from those here, as the question is not whether the

proof of individualized issues of reliance (or other issues) would prove unworkable at trial, but

rather whether differences in state law undermine the cohesiveness of the proposed class.




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        In remanding the case for further consideration, the Second Circuit instructed the district

court to "pay particular attention to Amchem[ Products, Inc. v. Windsor, 521 U.S. 591 (1997)]'s

guidance that in the settlement context Rule 23's requirements designed to protect absentees by

blocking unwarranted or overbroad class definitions demand undiluted, even heightened,

attention." AIG, 689 F.3d at 243 (alteration and internal quotation marks omitted). The court

went on to point out that "[o]n the record before [it], it [was] not clear, for example, whether any

members of the class may have viable state law claims that would be released by the settlement,

and whether variations in state law might cause class members' interests to diverge." !d.

(emphasis added) (citing Sullivan v. DB Invs., Inc., 667 F.3d 273, 302-03 (3d Cir. 2011)). The

court thus did not hold, as Plaintiffs suggest here, that "state law variations are largely irrelevant

to certification of a settlement class," (Suppl. Mem. 3 (internal quotation marks omitted)

(quoting Sullivan, 667 F.3d at 304)), and instead instructed the district court to engage in the

precise inquiry undertaken here-whether variations in state law prevent certification of a class
                                                                                                    '
for settlement purposes.

       The court acknowledges that the Third Circuit, in Sullivan, has squarely held that

"concerns regarding variations in state law largely dissipate when a court is considering the

certification of a settlement class." 667 F .3d at 297. That decision, however, is not binding in

the Second Circuit, and contrary to Plaintiffs' suggestion, (see Suppl. Mem. 4 n.2), the Second

Circuit in AIG did not adopt the reasoning of Sullivan, and instead remanded to the district court

to sort out the issues regarding variations in state law. Moreover, the cases in the Second Circuit

cited by Plaintiffs do not stand for the proposition that variations in state law are irrelevant when

certifying a class for settlement purposes. In Davis v. JP. Morgan Chase & Co., 775 F. Supp.

2d 601 (W.D.N.Y. 2011), which involved only preliminary approval of a settlement (though the



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settlement was later finally approved), the court recognized that "to render certification of a

proposed multi-state class action appropriate, [the] plaintiff must credibly demonstrate through

an extensive analysis of state law variances, that class certification does not present the court

with insuperable obstacles." ld. at 609 (alteration and internal quotation marks omitted). The

court went on to say, however, that "[i]f a claim is based on a principle of law that is uniform

among the states, class certification is a realistic possibility." !d. (emphasis added) (internal

quotation marks omitted). Although the court acknowledged that the Third Circuit has ruled that

"variations in the states' laws [do] not defeat the commonality and predominance requirements

in the settlement context because the state-law distinctions impact trial manageability," the court

gave no clear indication whether it was adopting that reasoning. ld. And in Denney v. Jenkens

& Gilchrist, 230 F.R.D. 317 (S.D.N.Y. 2005), aff'd in part, vacated in part, 443 F.3d 253 (2d

Cir. 2006), the court acknowledged that "there may be situations where variations in state laws

are so significant so as to defeat commonality and predominance even in a settlement class

certification," id. at 335 (internal quotation marks omitted), but nonetheless certified the class

because "many ofthe key issues ... [were] matters offederallaw," and "many of[the]

plaintiffs' most significant state law causes of action [could] be governed by a single state's

law," id. Finally, the court noted that "[e]ven insofar as [the] plaintiffs' claims would require the

application of varying state laws, the variations [were] not so great as to defeat predominance."

ld. These cases thus do not establish that variations in state law are per se irrelevant when

evaluating a settlement class for certification, and instead hold that the circumstances of each

case govern the suitability ofthe class under Rule 23(b)(3).

       Although the Court declines Plaintiffs' invitation to adopt a blanket rule regarding

variations among states' laws, the Court nonetheless finds that certification of the proposed



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settlement class is appropriate here. As Plaintiffs point out, numerous courts have certified

nationwide classes based on a common claim of unjust enrichment, (see Suppl. Mem. 5), and

some have done so while explicitly recognizing that there are some minor variations among

states regarding the elements of unjust enrichment, (see Suppl. Mem. 6-7). These cases can be

rationalized on the reasoning that "[a]lthough there are numerous permutations of the elements

of the unjust enrichment cause of action in the various states, there are few real differences," and

regardless of which state's law applies, "the focus of an unjust enrichment claim is whether the

defendant was unjustly enriched." In re Mercedes-Benz Tele Aid Contract Litig., 257 F.R.D. 46,

58 (D.N.J. 2009), clarified by 267 F.R.D. 113 (2010), modified by 2010 WL 2976496 (July 22,

2010) (internal quotation marks omitted). Thus, while states' laws may differ on unjust

enrichment with respect to issues such as whether the plaintiff "must prove an actual loss or

impoverishment" or confront the availability of various defenses, In re Grand Theft Auto Video

Game Consumer Litig., 251 F.R.D. 139, 148 (S.D.N.Y. 2008), those differences do not

materially affect the "two fundamental elements" of an unjust enrichment claim-that "the

defendant received a benefit from the plaintiff and it would be inequitable for the defendant to

retain that benefit without compensating the plaintiff," In re Mercedes-Benz, 257 F.R.D. at 58.

       Moreover, to the extent state law variations in a broadly recognized common law cause

of action, like unjust enrichment, implicate concerns of overbreadth or lack of cohesion, courts

have recognized that the availability of subclasses vitiates any such concerns. See, e.g., Cassese

v. Wash. Mut., Inc., 255 F.R.D. 89,97-98 (E.D.N.Y. 2008) ("Even if a substantial variation in

applicable state laws were to arise, the [c]ourt may employ subclasses or decertify those state law

subclasses whose adjudication becomes unmanageable." (alteration and internal quotation marks

omitted)). And while the Court does not adopt, in full, Plaintiffs argument that variations in



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state law implicate only manageability concerns, which need not be addressed when analyzing a

settlement class, see In re Initial Public Offering Sec. Litig., 226 F.R.D. 186, 190 (S.D.N.Y.

2005), the Court does agree that questions about the ability of the Court to coordinate discovery

and trial among several subclasses that implicate the same broad issues of liability and proof are

best characterized as questions about manageability that need not be addressed here.

       Given the authority providing for certification in similar circumstances, see, e.g., In re

Nissan Radiator/Transmission Cooler Litig., No. 10-CV-7493, 2013 WL 4080946, at *21

(S.D.N.Y. May 30, 2013) (certifying a nationwide settlement class raising, among others, claims

for unjust enrichment); In re Sony SXRD Rear Projection Television Class Action Litig., No. 06-

CV-5173, 2008 WL 1956267, at *13-14 (S.D.N.Y. May 1, 2008) (same), and the absence of any

substantial differences among states' laws of unjust enrichment that would lead the Court to

conclude that the proposed settlement class is insufficiently cohesive or impermissibly broad, the

Court agrees with the Parties that certification of the proposed settlement class is appropriate in

these circumstances.




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                                          II. Conclusion

       For the foregoing reasons, the Court concludes that the proposed settlement class meets

the predominance requirement of Rule 23(b)(3), and for the reasons stated on the record at the

fairness hearing on January 26, 2017, the Court concludes that certification ofthe settlement

class is appropriate, the proposed settlement is both procedurally and substantively fair, and the

proposed fees, expenses, and incentive awards are likewise appropriate. As set forth in the

accompanying Order, the proposed settlement is approved in all respects, and fees, expenses, and

incentive awards are granted in the amount specified in the accompanying Order. The Clerk of

Court is respectfully directed to terminate the pending Motions. (See Dkt. Nos. 57, 59.)

SO ORDERED.

DATED:         Aprilai , 201 7
               White Plains, New York

                                                           ETH IVf."':~~~
                                                      UNI ED STATES DISTRICT JUDGE




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